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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

IN RE: Oil Spill by the Oil Rig                       CIVIL ACTION
“DEEPWATER HORIZON” in the
Gulf of Mexico on April 20, 2010                      MDL NO.: 2179

                                                      SECTION “J”(1)

THIS DOCUMENT RELATES TO:                             Hon. Carl J. Barbier
11-58                                                 Mag. Judge Sally Shushan



                       MEMORANDUM IN SUPPORT OF
         EX PARTE AND UNOPPOSED MOTION TO CANCEL AND RELEASE
             LETTER OF UNDERTAKING IN CIVIL ACTION NO. 11-58

MAY IT PLEASE THE COURT:

       Monica Ann, L.L.C., as Owner, and JNB Operating, L.L.C. and Gulf Offshore Logistics,

L.L.C., as Managers/Operators and/or Owners Pro Hac Vice, of the M/V MONICA ANN,

respectfully request that this Honorable Court issue an Order cancelling and instructing the

Clerk of Court to release to undersigned counsel the original Letter of Undertaking (Rec. Doc.

No. 5, Civil Action No. 11-58) filed on behalf of the M/V MONICA ANN, in Civil Action No.

11-58, a member case consolidated into Civil Action MDL 2179.

       As the Court will recall, this matter involves various damage claims filed on behalf of

Terry Robin, et al, in their direct and allegedly representative capacities seeking class action




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status, asserting certain allegations of negligence against the M/V MONICA ANN, and other

response vessels, alleged to have caused or contributed to the sinking of the DEEPWATER

HORIZON during their response efforts following the explosions occurring aboard the rig. The

M/V MONICA ANN was one of the vessels providing assistance.

       Pursuant to a Final Judgment and Decree of Exoneration (Rec. Doc. No. 61, Civil Action

No. 11-58, and Rec. Doc. No. 4674, MDL 2179), and an Amended Final Judgment (Rec. Doc.

No. 21, Civil Action 10-1986, and Rec. Doc. No. 4693, MDL 2179) entered by this Honorable

Court on November 21 and 22, 2011, respectively, exoneration was granted to the MONICA

ANN interests/movants herein, along with the other emergency response vessel interests

involved in the Robin action, and all claims pending against them in the MDL generally were

dismissed.

       A subsequent appeal was taken by the Robin, et al. case claimants only, to the United

States Court of Appeals for the Fifth Circuit as to the aforementioned final judgments. However,

counsel for the Robin, et al. claimants agreed to, and now has, dismissed the appeal to the extent

it involved the M/V MONICA ANN and its related interests, Monica Ann, L.L.C., JNB

Operating, L.L.C. and Gulf Offshore Logistics, L.L.C. See Judgment Issued as Mandate by the

United States Court of Appeals for the Fifth Circuit, attached hereto as Exhibit “A.”

Accordingly, the appeal has now been dismissed to the extent that it pertained to the M/V

MONICA ANN and its related interests, Monica Ann, L.L.C., JNB Operating, L.L.C. and Gulf

Offshore Logistics, L.L.C.

       As all remaining claims involving the M/V MONICA ANN, Monica Ann, L.L.C., JNB

Operating, L.L.C. and Gulf Offshore Logistics, L.L.C. have been fully and finally resolved as a




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result of the dismissal of the appeal by all persons and entities maintaining claims against them,

movants hereby seek an Order from this Honorable Court cancelling and releasing the original

Letter of Undertaking (Rec. Doc. No. 5, Civil Action No. 11-58) filed on behalf of the M/V

MONICA ANN.

       Further, counsel representing plaintiffs/claimants/appellants, Terry Robin, et al., who

represents all appellants claiming against the M/V MONICA ANN interests in connection with

the matter pending in the United States Court of Appeals for the Fifth Circuit, has been contacted

and has confirmed that there is no opposition to the filing and granting of this motion.




                                         Respectfully submitted,

                                         PHELPS DUNBAR LLP

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                                 CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, on this 17th day of April, 2012.




                                           William J. Riviere




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